         Case 1:22-cr-00438-CM Document 11 Filed 09/15/22 Page 1 of 1
                                                    U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York


                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew’s Plaza
                                                    New York, New York 10007


                                                    September 15, 2022

By ECF and Email

Honorable Colleen McMahon
United States District Judge
Southern District of New York
Daniel Patrick Moynihan Courthouse
500 Pearl Street
New York, New York 10007

       Re:           United States v. Khalid Mehdiyev,
                     22 Cr. 438 (CM)

Dear Judge McMahon:

        Attached please find a proposed Protective Order for your Honor’s consideration. The
parties have signed the proposed Order.


                                                    Respectfully submitted,

                                                    DAMIAN WILLIAMS
                                                    United States Attorney


                                          By:                      /s/
                                                    Michael D. Lockard / Matthew J.C. Hellman
                                                    / Jacob H. Gutwillig
                                                    Assistant United States Attorneys
                                                    (212) 637- 2193 / 2278 / 2215

cc:    Stephanie Carvlin, Esq. (by ECF and Email)
